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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                               19 CR 59 (PKC)

                 -against-                                         ORDER

Niket Jain,

                                    Defendant.
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P. KEVIN CASTEL, U.S.D.J.

                 A plea is scheduled for October 27, 2020 at 2:00 p.m. in Courtroom 11D, 500

Pearl Street, New York, N.Y.

                 SO ORDERED.




Dated: New York, New York
       October 16, 2020
